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                  IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE DISTRICT OF NEBRASKA

 IN THE MATTER OF:                                BK Case No. 13-82458
                                                       Chapter 13

                                             LIMITED MOTION TO MODIFY
 KATHLEEN M. JOHNSON,                          CHAPTER 13 PLAN AFTER
      Debtor(s).                                   CONFIRMATION



       The above-listed debtor(s) move(s) the Court for an order modifying the plan
pursuant to 11 U.S.C. §1329 and Neb. R. Bankr. P. 3015-3(B) as specifically noted below
[select all that are applicable and complete each PART]:

                                       PART A

   1. The plan shall be modified to cure all delinquent payments as of the date of this
     motion. [If no election to change future payments is made under Nos 2 and 3 of
     Part A, then plan payments shall resume by the end of the month in which this
     motion is filed.]


   2. The plan shall be modified to abate future plan payments beginning in the month
      of
_________, 20___, with plan payments to resume in the month of ____________, 20_____.


   3. The plan shall be modified to reduce plan payments to the amount of $ _________
      beginning in the month of _______________, 20___, with plan payments to resume
      in the month of ____________, 20_____.

        a. From each reduced plan payment, adequate protection payments shall be
          made to the following creditors and in the following amounts:

                           Creditor’s Name(s)                               Amount of
                      Payment
               ____________                          $____________
               ____________                          $____________
               ____________                          $____________
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                                         PART B

   1. The base amount of the plan shall remain the same.

   2. Beginning with the next plan payment, all future plan payments shall increase to

   3. The base amount of the plan shall increase to $

The attorney for the debtor(s) by signing this motion, certifies that the plan, as modified,
will be completed within 60 months from date of confirmation and have computed the
remaining available months and base amount of the plan as set forth in Neb. R. Bankr.
P. 3015-3(B).

                                         PART C

The reason(s) for this plan modification are as follows: Debtor fell behind in her payments
but will resume her payments in March 2018.



     WHEREFORE, the Debtor(s) pray(s) that the Court approve this Limited Motion to
Modify Chapter 13 Plan After Confirmation.

      Dated February 23, 2018                   KATHLEEN M. JOHNSON,
                                                Debtor(s)

                                            By: s/ Burke Smith
                                                Burke Smith, #19883
                                                Burke Smith Law
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                         NOTICE OF OBJECTION DEADLINE

     PURSUANT TO NEB. R. BANKR. P. 9013-1, ANY OBJECTION TO THE MOTION
TO MODIFY MUST BE FILED WITH THE BANKRUPTCY COURT AND SERVED ON THE
ABOVE ATTORNEY FOR THE DEBTOR(S), IF NOT REPRESENTED BY AN ATTORNEY,
ON OR BEFORE:        MARCH 16, 2018

      IF NO OBJECTION IS FILED, THEN THE MOTION SHALL BE APPROVED. IF AN
OBJECTION IS FILED, THE DEBTOR(S) MUST FILE A RESPONSE WITHIN 14 DAYS
AFTER THE ABOVE OBJECTION DATE. IF NO RESPONSE IS FILED, THE MOTION
WILL BE DENIED. AFTER FILING OF A RESPONSE BY THE DEBTOR, THE OBJECTION
SHALL PROCEED IN THE MANNER SET FORTH IN NEB R. BANKR. P. 3015-2(E).



                                CERTIFICATE OF SERVICE

       I hereby certify that on February 23, 2018, I caused filing of the foregoing with the
Clerk of the Bankruptcy Court using the CM/ECF system, and further certify that on the
same date I mailed by United States Postal Service, postage prepaid, the document to
the non-CM/ECF participants named on the current matrix.


                                          By: /s/ Burke Smith
